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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES                                       :       Case No. 3:17-cv-00072

                      Plaintiff                           :       Judge MOON
                                                                  Mag. Judge Hoppe

                                                          :
           -v-

    JASON KESSLER et al.                                  :

                                                          :
                      Defendants

    _______________________________________________________

                    DEFENDANTS’ WITNESS LIST
    _______________________________________________________

           Now come defendants Jason Kessler, Nathan Damigo, and Identity Evropa

    (“Defendants”) and, Pursuant to Fed. R. Civ. P. 26(a)(3)(A) and the amended pretrial Order

    issued by the Court on July 15, 2021 (ECF 991), respectfully serve their witness list on all

    other parties to this case. This list does not include the names of any rebuttal witnesses. The

    Defendants did not retain any expert witnesses.

    Expect to Call:

    Daniel Ferguson
    address provided separately

    Emerson Stern
    address provided separately

    Captain Wendy Lewis
    Charlottesville Police Department

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    Nigel Crofta
    address provided separately

    Hannah Zarski
    address provided separately

    Wes Bellamy
    address provided separately

    Luis Oyola
    address provided separately

    Harold Crews
    address provided separately

    Harold R. Sloke
    address provided separately

    any party to this lawsuit

    any person who was deposed by any party

    anyone identified or called as a witness by any party

    May Call if Needed:

    Lt. Angela Tabler
    University of Virginia Police Dept.

    Millie Weaver
    address provided separately

    Holly Zoller
    address provided separately

    Sean Liter
    address provided separately

    Jason Charter
    address provided separately

    Brent Betterley
    address provided separately

    Lacy McAuley
    address provided separately

    James Neal Ritchie
    address provided separately
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    Al Thomas
    address provided separately

    Maurice Jones
    address provided separately
    Tom Keenan
    address provided separately

    Tom Massey
    address provided separately

    Dwayne Dixon
    address provided separately

    Edgar Brandon Collins
    address provided separately

    Corey Lemley
    address provided separately

    Paul Minton
    address provided separately

    Lindsey Moers
    address provided separately

    Detective Steve Young
    Charlottesville Police Dept.



    Defendants reserve the right to amend this list in light of any new information developed

    before or during trial.




                                                                Respectfully Submitted,

                                                                s/__James E. Kolenich________
                                                                James E. Kolenich
                                                                Kolenich Law Office
                                                                9435 Waterstone Blvd. #140
                                                                Cincinnati, OH 45249
                                                                JEK318@gmail.com
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                                                               _s/ Elmer Woodard___________
                                                               Elmer Woodard
                                                               5661 US Hwy 29
                                                               Blairs, VA 24527
                                                               isuecrooks@comcast.net

                                                               Trial Attorneys for Jason Kessler,
                                                               Nathan Damigo, and Identity
                                                               Evropa


                                 CERTIFICATE OF SERVICE

    I certify the above was served on September 7, 2021 on all ECF participants and that parties
    requiring service by other means were served as follows:


    Robert Ray
    azzmador@gmail.com
    Vanguard America c/o Dillon Hopper
    dillon_hopper@protonmail.com
    Elliott Kline eli.f.mosley@gmail.com deplorabletruth@gmail.com
    Matthew Heimbach matthew.w.heimbach@gmail.com
    Christopher Cantwell
    #00991-509
    USP Marion
    4500 Prison Rd.
    PO Box 2000
    Marion IL 62959

                                                               Respectfully Submitted,

                                                               s/__James E. Kolenich________




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